
CLARK, Chief Judge.
Susanna L. Young was arrested October 26, 1984 in Jackson County when the automobile she was driving was observed by a Missouri State Highway Patrol officer to violate a stop sign at the intersection of Highway 7 and Colburn Road. Young displayed apparent conditions associated with alcohol intoxication and upon testing with a chemical breathalyzer, Young was found to have a blood alcohol concentration of .18 percent. Notice of driver’s license suspension was issued pursuant to §§ 302.500-540, RSMo.Cum.Supp.1984 and the suspension was affirmed on administrative review.
A de novo trial in the circuit court resulted in a reversal of the suspension order and the Director of Revenue has appealed. The sole issue in the case is respondent’s contention the suspension proceedings were invalid because no showing was made of probable cause to believe, at or prior to the time of respondent’s arrest, that her level of intoxication equalled or exceeded the statutory level of .13 percent.
The issues in this case are governed by Schranz v. Director of Revenue, 703 S.W.2d 912 (Mo.App.1986). On the authority of that decision, the judgment of the circuit court ordering reinstatement of respondent’s license privileges is reversed. The order by the Department of Revenue suspending respondent’s driving license is reinstated for a period to be determined by the Department of Revenue in accordance with § 302.525.2, RSMo.Cum.Supp.1984. Costs are assessed against respondent.
